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Doc 1238-17 Entered 08/13/10 16

Case 09-14814-qwz

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= TPRIVATE/ POLE” Y S|

ei

Fp,
e = EXISTING GRADE
50,
e = FUTURE GRADE g
Be

= FLOWLINE ELEVATION
7.35
a = CENTERUME FINISHED GRADE ELEVATD
ie = TOP DF CURS ELEVATION
= RATE & DIRECTION DF SLOPE
{ST& 10+04.89] — — STATIONING AT BOS (CULDESAO)
= prover une fl
—— -— — ——__ = RIGHT oF war é
= EASEMENT LIME

GRADE BREAK
CENTER UNE

'

K_STREET (PAWATE) — - —
SCALE: HORIZONTAL 1" = 40° CONSTRUCTION NOTES: . nee
4

VERTICAL 1" = (7) SIDEWALK ACCESS AAMP TYPE 'D’ PER MAG. STANDARD DETAIL NO. 234 .
a ean 80 73 = LOT NUMBER

( Ae = ence oF PaveveT

(IW FEET } ye a aA Ee = SLIBIDINISION/PHASE BOUINDRY

Linch = 49° it,
=< = 5. FT TRANSITION
TL" CURB TO "ROLL" CURB)

SCALE (H) 1"=40"
<4!
CHECKED BY SH/DB

SCALE (4) 1"
DRAWN BY GA

DATE 04-12-08

HIGH POINT BLEW = 2550.49

SS === = CURB & CUTTER
HIGH POINT STA = 23+18.11
PM STA = 22400

- 5/0 RAMP
PY ELEY = 2550.75

AD = 7235 BASIS OF BEARINGS

Too." NORTH OU73'S8" EAST — THE WEST LINE OF THE NGRTHWEST QUARTER
(HW 1/4} OF SECTION 02, TOWNSHIP 20 NORTH, RANGE 18 WEST, GILA &

(202) 348-9386 Fox (702) 360-0703

‘wun starleyareup.com

Stanley Consultants inc

5820 3. Eastern Averve, Suite 200
Los vegas, Mevode B91 19

ARIZONA ODORDINATE SYSTEM OF 1983 (AZ@3—WF), WEST 2

MOHAL FOGT (IFT), UTUZING FAST STATIC DESERVATIONS

PROCESSED BY NGS—OPUS,

m248d
48.08
mo

je

S M..5.D. "SD 32 = LATIUBE 3570@'22.70034"

LONGITUDE 114°09°21.S7240°W {KAD BS)
HEIGHT 2562.48391Ne (HAVD'SB)

=
4 SIGUE 1/4 COR 3/2 = LATITUDE ASTefS.saua6'
ae

EVOE: 2560.36

PU STA: = 2142530

PMI ELEM = 880.72

Bice:
BME:

EMSTINE: GROW
AT CENTERLINE.

LONGITUDE 11451080. 7
HEIGHT 2495 2045%F¢ (I

PY FLEW = 2508.65

Quan "83}
a}

4 BENCHMARK

oS BENCHMARK # "SD 347 W.0S.D,
ELEVATIONS 2590.24275

2550 a

ao CENTERLINE

65 FT, MORTHEAST OF
BW. AMO THE
., STAMPED "SD 34 1898 ————

__§

ARIZONA

GEOTECHNICAL NOTE:

ALL CONVETRUGTION SHALL CONFORM WITH THE
SOILS REPORT PREPARED BY: AMERICAN SOLS
ENGINEERIMG, LLC.

oR’ SEPTEMBER DS

PROJECT Me: 1080-GEO

STA 21+73.58
STREET wa!

FEMA FLOOD ZONE

FEMA MAP: PANEL WO, O40058 23250
MAP UPDATE: GGT 20, 2000

A.PORTICN OF PHASE B OF AREA 2 UES ‘WITHIN!

PLAN FOR BOUNDARY LOCATIONS.

DISCLAIMER NOTE

UTUTY LOCATIONS SHOW
2530 HEREDY ARE APPROKIMATE
OMLY. IT SHALL BE THE
: i i CONTRACTOR'S RESPONSIBILTY
TO DETERMI

GOLDEN VALLEY RANCH

RHODES HOMES ARIZONA, LLG
AREA 2 PHASE B
K STREET PLAN AND PROFILE

MOHAVE COUNTY

INISH GRADE
AT CENTERLINE

IEMSTING GROUI
TAT CENTERUNME

averted SHEET
verhed
1-928-753-5591 PP28
Wee =n 71_GF 7a SHEETS
24400 25400 SCI PROJECT#
PRELIMINARY ISSUE FOR REMEW 147.2428
NOT FOR CONSTRUCTION 04/12/06 S

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Bsag 5?
(2590.53,

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(2548.4)
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BaAe Be
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APBATS.
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1400 ye+00 qa400 04.00

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